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  IT IS ORDERED as set forth below:



  Date: August 9, 2018
                                                    _________________________________

                                                               Paul W. Bonapfel
                                                         U.S. Bankruptcy Court Judge
 _______________________________________________________________




                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

       IN RE:
                                                              CASE NO. 17-56753-PWB
      6420 ROSWELL ROAD INC. d/b/a
      FLASHERS,
                                                              CHAPTER 11
            Debtor.


      ORDER AND NOTICE CONDITIONALLY APPROVING DISCLOSURE STATEMENT,
       FIXING TIME FOR FILING ACCEPTANCES OR REJECTIONS OF THE PLAN, AND
      FIXING TIME FOR FILING OBJECTIONS TO THE DISCLOSURE STATEMENT AND
                          TO CONFIRMATION OF THE PLAN
                                      AND
      NOTICE OF HEARING ON FINAL APPROVAL OF THE DISCLOSURE STATEMENT
                 AND THE HEARING ON CONFIRMATION OF THE PLAN

             The Debtor filed a first amended chapter 11 plan [Doc. 65] and disclosure statement

      for the first amended plan [Doc. 66] on May 11, 2018. It is

             ORDERED AND NOTICE IS HEREBY GIVEN that:
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           A. The disclosure statement [Doc. 65] filed by the Debtor on May 11, 2018, is

              conditionally approved.

           B. September 14, 2018 is fixed as the last day for filing written acceptances or

              rejections of the first amended chapter 11 plan.

           C. September 14, 2018 is fixed as the last day for filing and serving written

              objections to the disclosure statement and confirmation of the plan. Any party

              objecting to the final approval of the disclosure statement or objecting to

              confirmation of the Debtor’s plan must attend the hearing. Written objections

              shall be filed with the Clerk, United States Bankruptcy Court, Room 1340, U.S.

              Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia 30033, or by using the

              Court’s electronic case filing system (“CM/ECF”). For information on electronic

              filing, consult the Court’s website at www.ganb.uscourts.gov. Any objection

              must also be served upon counsel for the Debtor.

           D. The Court shall hold a hearing on final approval of the disclosure statement and

              confirmation of the first amended plan on September 25, 2018, at 10:00 a.m., in

              Courtroom 1401, U.S. Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia.

           E. The Debtor shall mail copies of this Order, the first amended plan, the disclosure

              statement, and a ballot to creditors and parties in interest, within five days of the

              entry date of this Order and file a certificate of service showing same.

                                        END OF ORDER
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      Distribution List

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